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lN THE DISTRICT COURT OF CLEVELAND COUNTY
STATE OF OKLAHOMA
KElTH LEE, aka BRIAN KEITH LEEi

Plaintiff,

vs. NO. CJ~2014»§T7 0

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S FA l"l; FARM FIRE AND CASUALTY ) /
COMPANY, an insurance company doing )
business in Ol<lahoma, and DANNY )

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)

GRlSSOl\/l, an individual, STF*TE UF OKLAHOMA

ctEvEtAND country S.S,
Defendant. F"-ED
MAY 09 2014
PETlTI N
Plaintift` alleges and states: Cou:;ncrg,i BEESRBKZKLL
l. Plaintiffis an individual residing in Clcveland Counly, State ol"Oklahoma.

2. Def`endant State Farm Firc and Casualty Company (“State Fann”) is an
insurance company licensed under the laws of the State of Oklalioma to issue policies of
insurance covering various casualties, including property insurance

3. Defendant Danny Grissom is an individual, residing in Cleveland Counly, State
ol`Oklahoma.

3. This action is brought for actual, consequential and punitive damages due to
Del`endant’s breach ofcontract and bad faith refusal to pay Plaintifl"s valid claim for benefits
under a policy of property casualty insurance, and for intentional interference with
contractual relations The subject property ot`the insurance is located in Cleveland County,
Oklahoma.

4, Plaintiff` is the owner of property insurance from Defendant, in effect on May
20, 2013, Policy No. 36-BR-H940-2. The policy provided coverage for loss occasioned by

storm.

EXHlBlT

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5. On or about May 20, 20l3, Plaintiff suffered loss as a result ofa storm and
t'ornado, Which occurred in Cleveland County, Oltlahoma. On or about August 31, 2013,
September 27, 20l3, and October, 201 3, Plaintiff suffered losses as the result of thefts On
or about May 31, 20l3, Plalntiff suffered loss as the result of water damage The incidents
was covered under the terms ofthe policy. Tlie Defendant State l"arm determined the claim was a
covered loss, but Defendant Slate Farm failed to properly adjust the claim under the terms of the
contraet; failed to promptly pay valid claims; failed to properly discover and determine the extent
of`tlie damage to the property, and failed to pay thc value ofthe complete loss and damage to the
property pursuant to the terms ofthe contractv

6. Plaintiff has submitted to the Defendant State Parm the information requested
which was available after the losses. Plaintiff, in an attempt to negotiate with Dei`endants’
claims representative concerning payment of the claim, submitted information regarding the
losses. Defendant`s claims representative has refused to negotiate in good faith

7. Defendants’ claims representative consistently refused to consider in good faith
the nature and extent oi`Plaintiffs losses and has failed and refused to pay policy coverages
purchased by Plaintiff.

8. issuance by Defendant State Farm of the policy, Policy No. 36-BR~H940~2.
to Keith Lee created a contractual relationship between Dei`endant State F arm and Plaintiff.
Defendant State Fat'rn therefore was subject to the implied»in~law duty to act fairly and in
good faith in order not to deprive Plaintiff ofthe benefits ofthe policy.

9. Defendant State Farm acted willfully, fraudulently, intentionally, and in bad
faith in refusing to consider the nature and extent ofPlaintiffs loss and in making no full and
complete settlement offer and denial of several ofl’laintift‘s valid claims

10. Defendant State Farm actions were done knowingly, intentionally, and \vith

the purpose of discouraging, avoiding, or reducing the payment due Plaintiff under the terms

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ofthe policy.

l l. Defendant State Farm had no legitimate or arguable reason for refusing to pay
the full amount ofPlaintiff's valid claim. By refusing to consider the nature and extent of
Plaintiff‘s loss, by failing to pay the claims in a prompt manner, by failing accept and pay for
coverages paid for by Plaintiff, and by rejecting the opportunity to in good faith consider and
evaluate Plaintiff's valid claim, Defendants’ claims representative intentionally failed to
determine whether there was any legitimate or arguable reason for refusing to pay Plaintift`s
claim.

12. Defendant State Farm intentional refusal to pay Plaintiffs valid claim was a
breach of the implied~in-law duty of good faith and fair dealing and operated to unreasonably
deprive Plaintiff of the benefits of the policy.

13. Defendant State Parm conduct in intentionally refusingto pay Plaintifi‘s valid
claim was malicious, fraudulent, oppressive, and otherwise reflected a conscious disregard
of Plaintiff’s rights

l4. As a proximate result of Defendant‘s intentional refusal to pay Plaintiff’s valid
claim, and Defendant's consequent breach of the implied-in-law duty of good faith and fair
dealing, Plaintiff has not been properly compensated for the damages incurred.

FIRS! CAUSE OF ACTION
BREACl-l OF CONTRACT
15. Plaintiff reasserts the allegations set forth above, and further allege,
l6. lssuunce by Defendant State Farm of the insurance policy created a contractual
relationship between Defendant and Plaintifl`.
l7. Defendant breached thc contract between the parties in that Defendant failed to pay the
complete loss and damage to the property payable under the contract resulting from the storm loss
on the property. Defendant has breached the contract between the parties by failing to pay all

contractual amounts due in a timely manner Defendant has failed to pay all consequential damages

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arising from the loss. Defendant has failed and refused to consider the nature and the extent of
Plaintiffs loss and failed to pay valid claims in a prompt and timely manner. Dcfendant has failed
to properly calculate the amounts due under the contractl

lS. As a result of Defendanl’s failure to pay Plaintiff the full amount of Plainl'iff’$ valid
claim, Plaintiff has sustained emotional distress, financial stress and loss of income

l9. Defendant has breached the terms of its contract with Plaintiff.

20. As a proximate result of Defendant’s failure and refusal to pay Plaintifl‘s valid claim,
Plaintii`l`has sustained actual damages in excess of$ l 0.000.00, consequential damages in excess of
$l0,000.00, and punitive damages in excess of$l 0,000.00.

WHEREFORE, premises considered, Plaintiffs pray forjudgment against Defendant for
breach of contract in excess of 310,000,00, consequential damages in excess of $l0,000.00, and
punitive damages in excess of $l0,000.00, plus costs, interest and attorney fees, and such further
relief this Coutt deems appropriate

SECOND CAUSE OF ACTION
BREACH OF DUTY OF COOI) FAITH ANl) FAlR DEAL]NG

21. Plaintiff reasserts the allegations set forth above, and further allege:

22. Defendant's relationship as insurer to Plaintiff, give rise to a duty ofgood faith and fair
dealing between the parties

23, Defendant breached the contract between the parties in that Defendant failed to pay the
complete loss and damage to the property resulting from the storm, water, and theft claims.
Defendant has breached the contract between the parties in that Defendant has failed to pay the full
amount of the claim, failure to pay valid claims promptly, and to properly calculate the amount clue
to Plaintiff. Dcfendant has failed to pay all consequential damages arising from the storm loss.

24. Defendant has failed and refused to consider the nature and the extent ofPlaiiitiffs’ loss
and specifically rejected the opportunity to consider and properly evaluate l’laintifl"s claim ot`loss
based upon the terms of the contract in place at the time ot` the loss.

25. As a result ofDefendant’s failure to pay Plaintit`f’s valid claim, l)laintiffhas sustained

 

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emotional distress and iinancial stress, damages and loss ofincome.

26. lssuance by Defendants of the insurance policy created a contractual relationship
between Defendant and Plaintiff. Defendant has an implied-in»law duty to act fairly and in good
faith in order not to deprive l’laintiff of the benefit ofthe contract

27. Defendant acted willli.i]ly, fraudulently, intentionally and in bad faith in failing to
consider the nature and extent ol`l]laintiff"'s loss in failing to properly adjust the claim Ofl)laintit"f
and in rejecting the timely, proper and full payment ofPlaintifFS elaim. This was done knowingly,
intentionally, and with the purpose ofdiscouraging, avoiding, or reducing the payment due under the
terms of the agreement The Defendant acted with recklessness and with wanton negligence in the
breach of its duty of good faith and fair dealing owed lo Plaintiff.

28. Deferidant had no legitimate or arguable reason for refusing to pay the complete loss
involved in Plaintift"s valid claim for storm damage, water damage as a result of storm, living
expenses and theft By refusing to consider the nature and extent ofl’laintift’s loss and by rejecting
the opportunity to consider and properly evaluate Plaintift` s proof of claim, Defendants intentionally
failed to determine whether that was any legitimate or arguable reason for refusing to pay Plaintift`s
elaim.

29. Defendant action was a breach of its contract with Plaintiflj` and was a breach of the
implied-in~law duty ofgood faith and fair dealing and operated to unreasonably deprive Plaintiffof
the benefits ofthe policy.

JO. As a proximate result of Del`endant’s intentional refusal to pay Plaintit`l’s valid claim,
and Defendant’s consequent breach of the implied-in»law duty of good faith and fair dealing,
Plaintifl`s has sustained actual damages in excess of Sl0,000.00, consequential damages in excess
ot`$l0,000.0(), and punitive damages in excess of$l0,0()0.00,

WHEREFORE, premises considered, Plaintiffprays forjudgment against Defendant State
Farm for breach ot`good faith and fair dealing in an amount in excess of$l0,000,00, consequential
damages in excess of$l 0,000.00, and punitive damages in excess of $ l 0,000.00, plus costs, interest,

and attorney fees, and for such further relief as this Court deems appropriate

 

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THIRD CAUSE OF ACT|()N
INTENTIONAL iNTERFERENCE WITH CONTRACTUAL RELATIONS

31 . Plaintiffreallege and restate the allegations contained hereinabove, and further state:

32. Upon information and belief, Det`cndant Grissom, and/or his agents, had knowledge of
the insurance contractor PlaintiiT with State Farm. Defendant Grissom, and/or his agents, interfered
with the insurance contract by providing false and misleading information to State Farm with regard
to thc claim of Plaintiff. Defendant Grissom’s actions were intentional, improper and used unfair
means to the detriment ot` Plaintitf. Defcndant’s actions constitute lnterference with Contract of
Plaintiti"\\'ith the intent ofintcrfere with the Plaintiff's contract with Defendant State Parm.

33. As a result of Defendant Grissom’s actions, Plaintiff has suffered damages in excess of
$i0,000.UO, plus costs, interest and fees.

WHEREFORE, premises considercd, Plaintiff prays t`or judgment against Defendant
Grissom for intentional interference with contractual relations in the sum of Sl(),OO0.00,
consequential damages in excess oi` $10,000.00, plus costs, interest and attorney fees, and for such
further relief as this Court deems appropriate

FQ!!RTH CAUSE OF ACTION
PUNITIVE DAMA ES
34. The Defendants have engaged in a pattem and practice ot' wrongfully adjusting the
claim and wrongfully refusing to pay legitimate claims on their policy. Such practice is
motivated by greed and financial gain. Det`endant has intentionally and with malice breached the
duty of good faith and fair dealing owed to Plaintiit". Defendants’ actions as set forth above have
been deliberate, malicious willful, reckless, wanton, and grossly negligent of the rights of
Plaintift` and Plaintiffis entitled to punitive damages in an amount in excess of$ l 0,000.00.

WHEREFORE, premises considcrcd, Plaintii`fprays forjudgment against Del`cndant in
an amount in excess ot`$ t 0,000.00, together with all attomeys’ fees, interest and costs.
Additionally, Plaintift"prays for exemplary damages against Def`endant and for such additional

relief as this Court deems equitable

 

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